         Case 3:07-cv-00413-AC          Document 180       Filed 05/31/19     Page 1 of 2




Nell Brown
Mark Ahlemeyer
Assistant Federal Public Defenders
101 SW Main Street, Suite 1700
Portland, Oregon 97204
Tel: (503) 326-2123
Fax: (503) 326-5524
Email: Nell_Brown@fd.org
       Mark_Ahelmeyer@fd.org

Attorneys for Petitioner

                      IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF OREGON

 FRANK E. GABLE,                                         Case No. 3:07-cv-00413-AC

                                 Petitioner,             RESPONSE TO RESPONDENT’S
                                                         MOTION TO STAY
                           v.

 MAX WILLIAMS,

                        Respondent.
____________________________________
       Petitioner Frank Gable, through counsel, hereby responds to the State’s motion to stay this

Court’s April 18, 2019, order that the State of Oregon, through Marion County, retry Mr. Gable

within ninety days. CR 171. In the interest of conserving taxpayer and judicial resources, Mr.

Gable does not oppose a stay of any Marion County retrial pending completion of the State’s appeal.

       Mr. Gable now files, concurrent herewith, an unopposed motion for release pending appeal.

The State has revised its position since filing the stay motion and now does not oppose Mr. Gable’s

release on conditions pending appeal. The parties are continuing to confer on what conditions are

appropriate, and attempting to narrow the issues that need to be resolved by the Court. The parties

will notify the Court if an agreement is reached, particularly if the agreement obviates the need for

Page 1 – RESPONSE TO RESPONDENT’S MOTION TO STAY
         Case 3:07-cv-00413-AC         Document 180        Filed 05/31/19     Page 2 of 2




the June 26 hearing.

       A motion to stay a judgment and a motion for release pending appeal are opposing sides of

the same analysis. Fed. R. App. P. 23(c) establishes a presumption of release pending appeal. Fed.

R. Civ. P. 62 authorizes a district court to stay its judgment pending appeal. The factors to be

considered are set out in Hilton v. Braunskill, 481 U.S. 770, 776-77 (1987), and are analyzed in Mr.

Gable’s motion for release and the memorandum in support thereof.

       Respectfully submitted this 31st day of May, 2019.

                                             /s/ Nell Brown
                                             Nell Brown

                                             /s/ Mark Ahlemeyer
                                             Mark Ahlemeyer

                                             Attorneys for Petitioner




Page 2 – RESPONSE TO RESPONDENT’S MOTION TO STAY
